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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:00-CR-10
v.
                                                        HON. ROBERT HOLMES BELL
CETEWAYO ASKIA BRIGGS,

              Defendant.
                                  /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #164). Based on a review of

defendant’s motion, the Sentence Modification Report, submission by counsel for both

parties, and the original criminal file, the Court has determined that the motion should be

denied for the following reason(s):

       Defendant was sentenced on August 23, 2000 to 240 months custody and 5 years

supervised release following his conviction for Conspiracy to Manufacture Cocaine Base

contrary to 21 U.S.C. §§846 and 841(a)(1), and Manufacture of Cocaine Base contrary to

21 U.S.C. §841(a)(1). On November 16, 2010, the Court reduced defendant’s term of

custody to 216 months due to the retroactive application of Amendments 706 and 711 to the

United States Sentencing Guidelines. The Sentence Modification Report prepared by the
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United States Probation Office calculated defendant’s guideline range at that time to be 188

to 235 months based on a total offense level of 36 and a criminal history category I.

       The Sentence Modification Report prepared as a result of defendant’s Amendment

750 motion states that defendant’s total offense level, criminal history category, and

guideline range remain unchanged from the last sentence modification.

       Since Amendment 750 does not result in a lower guideline range, defendant is not

eligible for a sentence reduction under 18 U.S.C. §3582(c)(2) and USSG §1B1.10(a)(2)(B).

       ACCORDINGLY, defendant’s motion (docket #164) is DENIED.




Date: June 8, 2012                        /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
